        3:21-cv-03033-SAL            Date Filed 07/14/22            Entry Number 123             Page 1 of 3




                                   UNITED STATES DISTRICT COURT
                                    DISTRICT OF SOUTH CAROLINA
                                        COLUMBIA DIVISION

    Pipe & Boiler Insulation, Inc., by and through             )    C/A No. 3:21-cv-03033-MGL
    its duly appointed Receiver Peter D. Protopa-              )
    pas, and PBI QSF, LLC, a Delaware limited lia-             )
    bility company,                                            )
                                           Plaintiffs,         )
                                                               )       BRIEF OF AMICUS CURIAE
                             v.                                )    RECEIVER PETER M. MCCOY, JR.
                                                               )      IN SUPPORT OF PLAINTIFF’S
    Continental Insurance Company, formerly                    )    MOTION TO REMAND BASED ON
    known as Niagara Fire Insurance Company; Ar-               )          BARTON DOCTRINE
    rowood Indemnity Company, formerly known as                )
    Security Insurance Company of Hartford; Lib-               )
    erty Mutual Insurance Company; United States               )
    Fire Insurance Company; and Aon Corporation                )
    and Aon Insurance Managers (USA) Inc., as suc-             )
    cessors-in-interest to Bayly, Martin & Fay,                )
                                        Defendants.            )
                                                               )
                                                               )

    BRIEF OF AMICUS CURIAE RECEIVER PETER M. MCCOY, JR. IN SUPPORT OF
        PLAINTIFFS’ MOTION TO REMAND BASED ON BARTON DOCTRINE

          On June 16, 2022, Pipe & Boiler Insulation, Inc., by and through its duly appointed receiver

Peter D. Protopapas, filed a motion to remand because this Court lacks subject-matter jurisdiction

under the Supreme Court’s decision in Barton v. Barbour, 104 U.S. 126 (1881). ECF No. 114.

This issue is incredibly important to other court-appointed receivers, including me, which is why

I have filed this amicus curiae brief. 1


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          State receivership courts recently have appointed me to serve as a receiver in three matters: (1) The Court of
Common Pleas for the County of Hampton, South Carolina recently appointed me, along with John T. Lay, Jr.—
counsel for Defendant Arrowood Indemnity Company in this matter—to serve as co-receivers in the highly publicized
litigation involving Alex Murdaugh and Buster Murdaugh. See Renee S. Beach v. Gregory M. Parker,
2019CP2500111 (Nov. 2, 2021) (Hon. Daniel Hall). (2) On November 15, 2021, I was appointed to serve as the
receiver for FC Midlands Kathwood, LLC, by order of the Court of Common Pleas for the County of Richland, South
Carolina in the case captioned Teresa Petitt, as Personal Representative for the Estate of Floyd Dallas McMurray v.
National Fire and Marine Insurance Company, et al., C/A 2020-CP-40-03732. The Court entered the appointment
order without a hearing on the underlying Motion to Appoint Receiver. After the Order was entered, Mr. Lay’s client
requested a hearing to challenge my appointment. (3) The Court of Common Pleas for the County of Richland

                                                           1
      3:21-cv-03033-SAL             Date Filed 07/14/22          Entry Number 123            Page 2 of 3




        The “Barton doctrine” protects receivers doing the jobs they have been appointed to do—

find, collect, and eventually distribute a company’s assets. Allowing removal of collection claims

filed by a receiver in a receivership court would seriously jeopardize that receivership court’s ex-

clusive jurisdiction to administer an estate, would undermine receivers, and would discourage peo-

ple from accepting the court’s appointment to be a receiver.

        Receivership is an age-old process, and though rarer now, state courts continue to appoint

receivers today. See Richard L. Marcus, 12 FED. PRAC. & PROC. CIV. § 2983 (3d ed. 2022) (provid-

ing a non-exhaustive list of instances in which courts appoint receivers, including in suits impli-

cating foreclosure, the impairment of corporate assets, fraudulent conveyances by a judgment

debtor, and requests made by government officials acting pursuant to specific legislation).

        When a state court determines that a case warrants appointment of a receiver, federal courts

should be highly deferential to the state court’s determination. Comity and federalism weigh heav-

ily against interfering with state receivership proceedings. In my view, this Court should construe

the Barton doctrine with these important, systemic interests in mind. Unless it is clear that the

Barton doctrine does not apply, the Court should apply it and remand.

        The Barton doctrine applies here. The defendants have cited no reported decision declining

to remand a collection claim brought by a receiver in a receivership courts. It seems highly unlikely

that, for more than 100 years, sophisticated corporate defendants simply misunderstood that they

could have removed collections cases like Pipe & Boiler’s to federal court. More likely, they knew

removal was futile because the district court lacked jurisdiction over collection claims under the

Barton doctrine.




appointed me to serve as the receiver for a defunct corporation in an environmental case. See Barbara Bullard Mimms
& John Mimms v. Burlington Indus., Inc., C/A 2021-CP-40-05873 (May 13, 2022) (Hon. Jocelyn Newman).

                                                        2
     3:21-cv-03033-SAL         Date Filed 07/14/22       Entry Number 123         Page 3 of 3




       Exercising removal jurisdiction over the claims of Pipe & Boiler and the counterclaims

against Pipe & Boiler would send a message beyond this case. It would threaten the exclusive

jurisdiction of South Carolina’s receivership courts (like the Court of Common Pleas for the

County of Hampton). It would require receivers appointed by South Carolina courts, like me (and

my co-receiver in the Murdaugh matter, Mr. Lay) to litigate in state and federal court simultane-

ously. And it would risk duplicative, wasteful, and potentially conflicting decisions—further com-

plicating already sensitive cases (like the Murdaugh matter) and defying the Barton doctrine’s

purposes.

       This amicus submits that Plaintiff is correct. In light of the Barton doctrine, “federal juris-

diction is doubtful.” Palisades Collections LLC v. Shorts, 552 F.3d 327, 333–34 (4th Cir. 2008)

(quotation omitted). This Court should “construe removal jurisdiction strictly,” id., and remand

the entire controversy back to the state receivership court.


                                                      Respectfully submitted,


                                                      /s/ Peter M. McCoy, Jr.
                                                      Peter M. McCoy, Jr.
                                                      Federal Bar: 9896
                                                      McCoy Law Group, LLC
                                                      15 Prioleau Street
                                                      Charleston, SC 29401
                                                      Tel: (843) 459-8835
                                                      Email: peter@mccoylawgrp.com

This 14th Day of July, 2022




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